                                        UNITED STATES BANKRUPTCY COURT
                                              FOR THE DISTRICT OF ARIZONA

                                                             Minute Entry
Hearing Information:
                       Debtor:   ARLENE & RONALD J SILVER
                 Case Number:    2:17-BK-07624-SHG                     Chapter: 11

          Date / Time / Room:    THURSDAY, OCTOBER 25, 2018 02:00 PM 3RD FLOOR #301

         Bankruptcy Judge:       SCOTT H. GAN
              Courtroom Clerk:   TERESA MATTINGLY
               Reporter / ECR:   ALICIA JOHNS                                                                                         0.00


Matter:
              HEARING ON APPROVAL OF SECOND AMENDED DISCLOSURE STATEMENT FILED BY KYLE A. KINNEY
              OF LAW OFFICES OF KYLE A. KINNEY, PLLC ON BEHALF OF ARLENE SILVER, RONALD J SILVER.
              R / M #: 142 / 0



Appearances:
        KYLE A. KINNEY, ATTORNEY FOR ARLENE SILVER, RONALD J SILVER
        JOSEPH JOHN TIRELLO, ATTORNEY FOR LEHMAN

Proceedings:                                                                                                                   1.00

        The Court expresses its concerns about the noticing procedure in the case and its compliance with 2002(b). The Disclosure
        Statement requires twenty-eight days notice for time to object. The objection period was set as the 18th of October which
        was too short by a week. There was also never a request to have a claims bar date set. Local form 3003-2 is the form to set
        a claims bar date and time for hearing on approval of disclosure statement if counsel didn't previously set a claims bar date.

        COURT: MR. KINNEY IS REQUIRED TO RENOTICE THE HEARING ON DISCLOSURE STATEMENT AND SET
        THE CLAIMS BAR DATE.

        The hearing is adjourned.




Page 1 of 1                                                                                                               10/29/2018 10:16:30AM
